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        County Counsel, County of Ventura
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        Assistant County Counsel
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    5 E-mail:      charmaine.buehner@ventura.org
    6 Attorneys for Defendants County of Ventura
        (also erroneously sued as Ventura County Public
    7 Health Care Agency), Sheriff William Ayub
        (erroneously sued as Bill Ayub), Robert
    8 Levin and William T. Foley
    9
                             UNITED STATES DISTRICT COURT
   10
                            CENTRAL DISTRICT OF CALIFORNIA
   11
   12 DONALD MCDOUGALL, an               )        No. 2:20 cv-02927 CBM(ASX)
        individual; JULIANA GARCIA, an )
   13   individual; SECOND AMENDMENT )            DECLARATION OF CHARMAINE H.
        FOUNDATION; CALIFORNIA           )        BUEHNER IN SUPPORT OF
   14   GUN RIGHTS FOUNDATION; and )              DEFENDANTS’ MOTION TO
        FIREARMS POLICY COALITION, )              DISMISS FIRST AMENDED
   15   INC.,                            )        COMPLAINT
                                         )
   16                       Plaintiffs,  )        Date: June 30, 2020
               vs.                       )        Time: 10:00 a.m.
   17                                    )        Ctrm: 8b
        COUNTY OF VENTURA,               )        Judge: Hon. Consuelo B. Marshall
   18   CALIFORNIA; BILL AYUB, in his )
        official capacity; WILLIAM T.    )        Trial:           Not Set
   19   FOLEY, in his official capacity, )        Complaint Filed: March 28, 2020
        ROBERT LEVIN, in his official    )
   20   capacity; and VENTURA COUNTY )
        PUBLIC HEALTH CARE AGENCY, )
   21                                    )
                                         )
   22                       Defendants.  )
                                         )
   23
   24         I, Charmaine H. Buehner, state as follows:
   25         1. I am an attorney licensed to practice law in the State of California. I am
   26 an Assistant County Counsel with the County of Ventura (“County”) and represent
   27 defendant County, as well as the individual defendants named in the above-
   28 captioned action, all of whom have been named in their official capacity: William

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                 DECLARATION OF CHARMAINE H. BUEHNER IN SUPPORT
            OF DEFENDANTS’ MOTION TO DISMISS FIRST AMENDED COMPLAINT
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    1 Ayub, the County Sheriff, Robert Levin, M.D., the County Health Officer, and
    2 William T. Foley, the Director of the Ventura County Health Care Agency, in
    3 which the County’s Public Health Department resides. The defendant identified as
    4 “Ventura County Public Health Care Agency” is not an agency or department of
    5 the County, nor are the Health Care Agency or the Public Health Department legal
    6 entities separate from the County. All named defendants are collectively referred
    7 to herein as “Defendants.” I have personal knowledge of the facts stated herein
    8 and, if called as a witness, I could and would competently testify thereto.
    9         2. On April 30, 2020 and in follow-up email correspondence on May 21
   10 and 26, 2020, I conducted a telephonic conference of counsel with plaintiffs’
   11 counsel Ronda Baldwin-Kennedy and Raymond DiGuiseppe pursuant to Local
   12 Rule 7-3.
   13         I declare under penalty of perjury of the laws of the United States and the
   14 State of California that the foregoing is true and correct.
   15
                                                     /s/
   16 Dated: June 2, 2020
                                              CHARMAINE H. BUEHNER
   17                                         Assistant County Counsel
   18                                   Attorneys for Defendant County of Ventura
                                        (also erroneously sued as Ventura County Public
   19                                   Health Care Agency), Sheriff William Ayub
                                        (erroneously sued as Bill Ayub), Robert Levin
   20                                   and William T. Foley
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                DECLARATION OF CHARMAINE H. BUEHNER IN SUPPORT
           OF DEFENDANTS’ MOTION TO DISMISS FIRST AMENDED COMPLAINT
